     Case 2:09-cr-00015-EFS    ECF No. 659   filed 04/29/09   PageID.1814 Page 1 of 2




 1
 2
 3
 4
 5
 6
                               UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF WASHINGTON
 8
       UNITED STATES OF AMERICA,                )
 9                                              )     No. CR-09-015-EFS-11
                         Plaintiff,             )
10                                              )     ORDER GRANTING UNOPPOSED
       v.                                       )     MOTION AND MODIFYING
11                                              )     PRETRIAL CONDITIONS OF
       ANDREW P. YANCEY,                        )     RELEASE
12                                              )
                         Defendant.             )
13                                              )

14          Before the court is the Defendant, Andrew P. Yancey’s Motion to

15    Modify Conditions of Pretrial Release to remove the requirement of

16    electronic home monitoring and to permit him to become employed. The

17    court has considered the Motion, without oral argument, and finds

18    that there is good cause to grant the requested relief.

19          IT IS ORDERED that Defendant’s unopposed Motion to Modify the

20    Conditions of Pretrial Release (Ct. Rec. 638) is GRANTED.                         The

21    requirement that the Defendant be on electronic home monitoring is

22    hereby removed, the Defendant shall be permitted to seek employment,

23    and upon finding employment, shall be permitted to work.                          The

24    Defendant shall notify U.S.P.O. Ann Sauther as to his plans for

25    seeking employment and thereafter shall provide her office with the

26    name and address of his employer and his work schedule.                 All other

27    standard and any special conditions of the Defendant’s pretrial

28
      ORDER GRANTING UNOPPOSED MOTION AND MODIFYING
      PRETRIAL CONDITIONS OF RELEASE - 1
     Case 2:09-cr-00015-EFS    ECF No. 659   filed 04/29/09   PageID.1815 Page 2 of 2




 1    release shall remain in full force and effect.
 2          DATED April 29, 2009.
 3
 4                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      ORDER GRANTING UNOPPOSED MOTION AND MODIFYING
      PRETRIAL CONDITIONS OF RELEASE - 2
